            Case 6:20-cv-06675-FPG Document 62 Filed 10/06/22 Page 1 of 7




    UNITED STATES
    UNITED STATES DISTRICT
                   DISTRICT COURT
                            COURT
    WESTERN  DISTRICT OF
    WESTERN DISTRICT   OF NEW
                          NEW YORK
                              YORK


 NATHANIEL MCFARLAND,
 NATHANIEL      MCFARLAND, in     in his
                                     his capacity
                                         capacity as
                                                  as
 supervised and
 supervised and ancillary
                ancillary administrator
                          administrator ofof the
                                             the ESTATE
                                                 ESTATE           MOTION TO
                                                                  MOTION  TO APPROVE
                                                                             APPROVE
 OF DANIEL
 OF  DANIEL PRUDE,
               PRUDE,                                             SETTLEMENT,
                                                                  SETTLEMENT,
                                                                  ATTORNEYS’ FEES,
                                                                  ATTORNEYS’  FEES, AND
                                                                                    AND
                      Plaintiff,
                      Plaintiff,                                  DISBURSEMENTS
                                                                  DISBURSEMENTS

                      V.
                      v.
                                                                  No. 6:20-cv-006675-FPG
                                                                  No. 6:20-cv-006675-FPG
 THE CITY
 THE   CITY OF
             OF ROCHESTER,
                 ROCHESTER, MARK  MARK VAUGHN,
                                           VAUGHN,
 TROY TALADAY,
 TROY    TALADAY, FRANCISCO
                      FRANCISCO SANTIAGO,
                                      SANTIAGO,
 MICHAEL MAGRI,
 MICHAEL     MAGRI, ANDREW
                       ANDREW SPECKSGOOR,
                                    SPECKSGOOR,
 JOSIAH HARRIS,
 JOSIAH   HARRIS, andand other
                          other as-yet-unidentified
                                as-yet-unidentified
 Rochester police
 Rochester police officers,
                  officers,

                       Defendants.
                       Defendants.



       Plaintiff, Nathaniel
       Plaintiff, Nathaniel McFarland,
                            McFarland, in
                                       in his
                                          his capacity
                                              capacity as
                                                       as supervised
                                                          supervised and
                                                                     and ancillary
                                                                         ancillary administrator
                                                                                   administrator

of the
of the Estate
       Estate of
              of Daniel
                 Daniel Prude,
                        Prude, decedent,
                               decedent, moves
                                         moves this
                                               this Court
                                                    Court to
                                                          to approve
                                                             approve the
                                                                     the settlement
                                                                         settlement of
                                                                                    of this
                                                                                       this

matter, attorneys’
matter, attorneys’ fees,
                   fees, and
                         and disbursements,
                             disbursements, and
                                            and in
                                                in support
                                                   support thereof
                                                           thereof appends
                                                                   appends his
                                                                           his affidavit
                                                                               affidavit and
                                                                                         and the
                                                                                             the

affidavit of
affidavit of one
             one of
                 of his
                    his attorneys
                        attorneys Matthew
                                  Matthew J.
                                          J. Piers,
                                             Piers, Esq.,
                                                    Esq., and
                                                          and states
                                                              states as
                                                                     as follows:
                                                                        follows:


       1.
       1.        In light
                 In light of
                          of the
                             the complexity
                                 complexity of
                                            of this
                                               this matter
                                                    matter and
                                                           and its
                                                               its significance
                                                                   significance to
                                                                                to the
                                                                                   the community,
                                                                                       community,

and with
and with agreement
         agreement of
                   of the
                      the parties,
                          parties, in
                                   in early
                                      early 2022,
                                            2022, this
                                                  this Court
                                                       Court appointed
                                                             appointed two
                                                                       two federal
                                                                           federal judges to serve
                                                                                   judges to serve

as mediators
as mediators in
             in this
                this action,
                     action, Hon.
                             Hon. LaShann
                                  LaShann DeArcy
                                          DeArcy Hall
                                                 Hall of
                                                      of the
                                                         the United
                                                             United States
                                                                    States District
                                                                           District Court
                                                                                    Court for
                                                                                          for the
                                                                                              the

Eastern District
Eastern District of
                 of New
                    New York,
                        York, and
                              and Hon.
                                  Hon. Magistrate
                                       Magistrate Judge
                                                  Judge Jonathan
                                                        Jonathan Feldman
                                                                 Feldman of
                                                                         of the
                                                                            the United
                                                                                United States
                                                                                       States

District Court
District Court for
               for the
                   the Western
                       Western District
                               District of
                                        of New
                                           New York.
                                               York.

       2.
       2.        After extensive
                 After extensive arm’s
                                 arm’s length,
                                       length, mediated
                                               mediated negotiations,
                                                        negotiations, lasting
                                                                      lasting over
                                                                              over several
                                                                                   several months,
                                                                                           months,

the parties
the parties have
            have reached
                 reached aa settlement
                            settlement in
                                       in principle.
                                          principle. The
                                                     The terms
                                                         terms of
                                                               of the
                                                                  the settlement
                                                                      settlement in
                                                                                 in principle
                                                                                    principle include
                                                                                              include

the following:
the following:

                                                  1
            Case 6:20-cv-06675-FPG Document 62 Filed 10/06/22 Page 2 of 7




             a. The
             a. The above-referenced
                     above-referenced action
                                       action (the
                                               (the “Lawsuit”)
                                                     “Lawsuit”) isis settled
                                                                     settled for
                                                                             for aa payment
                                                                                    payment by
                                                                                             by Defendant
                                                                                                Defendant
                City of
                City  of Rochester
                         Rochester to
                                    to the
                                       the Plaintiff
                                            Plaintiff in
                                                       in the
                                                          the total
                                                              total amount
                                                                      amount of of twelve
                                                                                    twelve million
                                                                                           million dollars
                                                                                                   dollars
                ($12,000,000)
                ($12,000,000) (the
                               (the “Settlement
                                    “Settlement Amount”).
                                                  Amount”).

             b. The
             b. The Lawsuit
                     Lawsuit will
                               will be
                                     be dismissed
                                         dismissed with
                                                    with prejudice,
                                                          prejudice, waiver
                                                                      waiver of
                                                                              of any
                                                                                 any right
                                                                                      right to
                                                                                            to appeal,
                                                                                                appeal, and
                                                                                                        and aa
                general release
                general  release of
                                  of the
                                      the Defendants
                                           Defendants (and
                                                       (and their
                                                             their agents,
                                                                   agents, successors
                                                                            successors and
                                                                                         and employees)
                                                                                              employees) byby
                the Plaintiff
                the Plaintiff Administrator.
                              Administrator.

             c. There
             c. There will
                      will be
                           be no
                              no admission
                                 admission of
                                           of liability.
                                              liability.

             d. Fifty
             d. Fifty percent
                      percent (50%)
                                 (50%) ofof the
                                             the Settlement
                                                 Settlement AmountAmount (six(six million
                                                                                  million dollars
                                                                                            dollars ($6,000,000))
                                                                                                     ($6,000,000)) is  is
                to be paid
                to be paid as
                            as compensation
                                compensation for  for damages
                                                       damages for  for conscious
                                                                        conscious pain
                                                                                     pain and
                                                                                           and suffering
                                                                                                suffering (“Survival
                                                                                                            (“Survival
                Claims”), and
                Claims”),    and the
                                   the remaining
                                        remaining fifty
                                                      fifty percent      (50%) of
                                                              percent (50%)       of the
                                                                                     the Settlement
                                                                                          Settlement Amount
                                                                                                         Amount (six(six
                million dollars
                million   dollars ($6,000,000))
                                     ($6,000,000)) is   is to
                                                            to bebe paid
                                                                      paid asas compensation
                                                                                 compensation for  for damages
                                                                                                         damages for for
                pecuniary injuries
                pecuniary    injuries to
                                       to five
                                           five children,
                                                 children, the the heirs,
                                                                    heirs, resulting
                                                                            resulting from
                                                                                        from the
                                                                                               the decedent’s
                                                                                                   decedent’s death
                                                                                                                  death
                (“Wrongful
                (“Wrongful Death
                               Death Claims”).
                                       Claims”). No  No portion
                                                          portion of of the
                                                                        the Settlement
                                                                             Settlement Amount
                                                                                          Amount is  is to
                                                                                                        to be
                                                                                                           be paid
                                                                                                               paid for
                                                                                                                     for
                punitive damages.
                punitive   damages.

             e. Thirty-three
             e. Thirty-three percent
                               percent of
                                        of the
                                            the total
                                                total Settlement
                                                       Settlement Amount
                                                                     Amount (33 (33 percent
                                                                                      percent of
                                                                                               of the
                                                                                                   the Survival
                                                                                                       Survival
                Claims damages
                Claims    damages ($1,980,000)
                                     ($1,980,000) and and 33
                                                           33 percent
                                                                percent of
                                                                         of the
                                                                              the Wrongful
                                                                                    Wrongful Death
                                                                                                 Death Claims
                                                                                                         Claims
                damages ($1,980,000))
                damages    ($1,980,000)) will
                                           will be
                                                be paid   as attorneys’
                                                     paid as  attorneys’ fees
                                                                          fees toto Plaintiff’s
                                                                                    Plaintiff’s Counsel,
                                                                                                 Counsel, for
                                                                                                           for aa
                total of
                total of three
                          three million
                                 million nine-hundred
                                          nine-hundred and  and sixty
                                                                 sixty thousand
                                                                        thousand dollars
                                                                                     dollars ($3,960,000)
                                                                                               ($3,960,000) in in
                attorneys’  fees.
                attorneys’ fees.

             f. One-hundred
             f.  One-hundred and  and sixteen
                                       sixteen thousand
                                                  thousand eight-hundred
                                                              eight-hundred and
                                                                              and eight
                                                                                    eight dollars
                                                                                           dollars and
                                                                                                     and 9292 cents
                                                                                                               cents
                (($116,808.92) of
                (($116,808.92)      of the                             ($58,404.46 of
                                                             Amount ($58,404.46
                                              Settlement Amount
                                        the Settlement                                     the Survival
                                                                                       of the                Claims
                                                                                                Survival Claims
                damages and
                damages    and $58,404.46
                                 $58,404.46 of  of the
                                                    the Wrongful
                                                        Wrongful Death
                                                                    Death Claims
                                                                           Claims damages)
                                                                                    damages) are are to
                                                                                                      to be
                                                                                                         be paid
                                                                                                             paid to
                                                                                                                   to
                Plaintiff’s
                Plaintiff’s Counsel
                              Counsel forfor disbursements,
                                              disbursements, to  to reimburse
                                                                    reimburse Plaintiff’s
                                                                                 Plaintiff’s Counsel
                                                                                              Counsel for for costs
                                                                                                               costs
                incurred in
                incurred   in advancing
                               advancing thethe claims
                                                 claims inin the
                                                             the above-referenced
                                                                 above-referenced action.
                                                                                      action.

       3.
       3.        Plaintiffs Counsel
                 Plaintiff’s Counsel conferred
                                     conferred with
                                               with counsel
                                                    counsel for
                                                            for Defendant
                                                                Defendant the
                                                                          the City
                                                                              City of
                                                                                   of Rochester,
                                                                                      Rochester,

which is indemnifying
which is indemnifying each
                      each of
                           of the
                              the individual
                                  individual defendants
                                             defendants pursuant
                                                        pursuant to
                                                                 to Rochester
                                                                    Rochester City
                                                                              City Charter
                                                                                   Charter §§ 2-
                                                                                              2-

23 and,
23 and, accordingly,
        accordingly, is
                     is the
                        the sole
                            sole defendant
                                 defendant in
                                           in interest
                                              interest for
                                                       for purposes
                                                           purposes of
                                                                    of this
                                                                       this settlement.
                                                                            settlement. Defendant
                                                                                        Defendant

City of
City of Rochester
        Rochester agrees
                  agrees with
                         with the
                              the relief
                                  relief requested
                                         requested herein.
                                                   herein.


WHEREFORE, Plaintiff prays
WHEREFORE, Plaintiff prays that
                           that this
                                this Court
                                     Court enter
                                           enter the
                                                 the Proposed
                                                     Proposed Order,
                                                              Order, attached
                                                                     attached as
                                                                              as Exhibit
                                                                                 Exhibit A,
                                                                                         A,

approving of
approving of the
             the settlement.
                 settlement.


Dated: October
Dated: October 6,
               6, 2022
                  2022                                 Respectfully submitted,
                                                       Respectfully submitted,

                                                       /s/ Matthew J.
                                                       /s/ Matthew J. Piers


                                                           2
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                           One of
                           One of the
                                  the Attorneys
                                      Attorneys for
                                                for Plaintiff
                                                    Plaintiff

                           Matthew J.
                           Matthew    J. Piers
                                          Piers
                           Mark S.
                           Mark   S. Dym
                                     Dym
                           Elizabeth Mazur
                           Elizabeth    Mazur
                           Margaret Truesdale
                           Margaret    Truesdale
                           HUGHES SOCOL
                           HUGHES        SOCOL PIERSPIERS RESNICK
                                                            RESNICK &
                                                                    & DYM,
                                                                      DYM, Ltd.
                                                                           Ltd.
                           70 W.
                           70  W. Madison
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                           mtruesdale@hsplegal.com

                           Stephen G.
                           Stephen  G. Schwarz
                                       Schwarz
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                           Rochester,  New York
                                            York 14618
                                                   14618
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                           Fax: 585.325.3285
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                           sschwarz@faraci.com
                           sschwarz@faraci.com

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                           Adam    D. Ingber
                                       Ingber
                           ADAM DAVID
                           ADAM      DAVID INGBER,
                                                 INGBER, P.C.P.C.
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                           161  N. Clark
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                                            St., Suite
                                                 Suite 1600
                                                        1600
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                           Chicago,    Illinois, 60601
                                                  60601
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                           Tel: 312.853.3588
                           Fax: 312.276.8844
                           Fax:  312.276.8844
                           ingberlaw@gmail.com
                           ingberlaw@gmail.com




                              3
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              EXHIBIT
              EXHIBIT
                 A
                 A
            Case 6:20-cv-06675-FPG Document 62 Filed 10/06/22 Page 5 of 7




    UNITED
    UNITED STATES
           STATES DISTRICT
                   DISTRICT COURT
                            COURT
    WESTERN DISTRICT
    WESTERN  DISTRICT OF
                       OF NEW
                          NEW YORK
                              YORK


 NATHANIEL      MCFARLAND, in
 NATHANIEL MCFARLAND,             in his
                                     his capacity
                                         capacity as
                                                  as
 supervised and
 supervised and ancillary
                ancillary administrator
                          administrator ofof the
                                             the ESTATE
                                                 ESTATE
 OF
 OF DANIEL
    DANIEL PRUDE,
           PRUDE,

                     Plaintiff,
                     Plaintiff,
                                                                   No.
                                                                   No. 6:20-cv-006675-FPG
                                                                       6:20-cv-006675-FPG
                     v.
                     V.


 THE CITY
 THE   CITY OF
             OF ROCHESTER,
                 ROCHESTER, MARK  MARK VAUGHN,
                                           VAUGHN,
 TROY TALADAY,
 TROY    TALADAY, FRANCISCO
                      FRANCISCO SANTIAGO,
                                      SANTIAGO,
 MICHAEL MAGRI,
 MICHAEL     MAGRI, ANDREW
                       ANDREW SPECKSGOOR,
                                    SPECKSGOOR,
 JOSIAH HARRIS,
 JOSIAH   HARRIS, andand other
                          other as-yet-unidentified
                                as-yet-unidentified
 Rochester police
 Rochester police officers,
                  officers,

                      Defendants.
                      Defendants.




                    [PROPOSED]
                    [PROPOSED] ORDER
                               ORDER APPROVING
                                     APPROVING SETTLEMENT
                                               SETTLEMENT

       Upon
       Upon the
            the Plaintiff’s
                Plaintiff’s application
                            application for
                                        for settlement
                                            settlement approval pursuant to
                                                       approval pursuant to Local
                                                                            Local Rule
                                                                                  Rule 41
                                                                                       41 and
                                                                                          and

submission
submission of
           of affidavits
              affidavits in
                         in support
                            support thereof,
                                    thereof, the
                                             the Court
                                                 Court states
                                                       states as
                                                              as follows:
                                                                 follows:


       I.
       1.       In light
                In light of
                         of the
                            the complexity
                                complexity of
                                           of this
                                              this matter
                                                   matter and
                                                          and its
                                                              its significance
                                                                  significance to
                                                                               to the
                                                                                  the community,
                                                                                      community, and
                                                                                                 and

with agreement
with agreement of
               of the
                  the parties, in early
                      parties, in early 2022,
                                        2022, this
                                              this Court
                                                   Court appointed
                                                         appointed two
                                                                   two federal
                                                                       federal judges to serve
                                                                               judges to serve as
                                                                                               as

mediators in
mediators in this
             this action,
                  action, Hon.
                          Hon. LaShann
                               LaShann DeArcy
                                       DeArcy Hall
                                              Hall of
                                                   of the
                                                      the United
                                                          United States
                                                                 States District
                                                                        District Court
                                                                                 Court for
                                                                                       for the
                                                                                           the

Eastern District
Eastern District of
                 of New York, and
                    New York, and Hon.
                                  Hon. Magistrate
                                       Magistrate Judge
                                                  Judge Jonathan
                                                        Jonathan Feldman
                                                                 Feldman of
                                                                         of the
                                                                            the United
                                                                                United States
                                                                                       States

District Court
District Court for
               for the
                   the Western
                       Western District
                               District of
                                        of New
                                           New York.
                                               York.

       2.
       2.       After extensive
                After extensive arm’s
                                arm’s length,
                                      length, mediated
                                              mediated negotiations,
                                                       negotiations, lasting
                                                                     lasting over
                                                                             over several
                                                                                  several months,
                                                                                          months,

the parties
the parties report
            report that
                   that they
                        they have
                             have reached
                                  reached aa settlement
                                             settlement in
                                                        in principle.
                                                           principle.

       All parties
       All parties appearing
                   appearing before
                             before the
                                    the Court,
                                        Court, and
                                               and the
                                                   the Court
                                                       Court finding,
                                                             finding, and
                                                                      and the
                                                                          the parties
                                                                              parties agreeing,
                                                                                      agreeing,

that aa hearing
that    hearing is
                is not
                   not necessary,
                       necessary, IT
                                  IT IS
                                     IS HEREBY
                                        HEREBY ORDERED:
            Case 6:20-cv-06675-FPG Document 62 Filed 10/06/22 Page 6 of 7




       1.
       1.       The Court
                The Court hereby
                          hereby approves,
                                 approves, pursuant
                                           pursuant to
                                                    to Local
                                                       Local Rule
                                                             Rule 41,
                                                                  41, the
                                                                      the terms
                                                                          terms of
                                                                                of the
                                                                                   the proposed
                                                                                       proposed

settlement of
settlement of the
              the above-referenced
                  above-referenced action
                                   action involving
                                          involving claims
                                                    claims by
                                                           by the
                                                              the Estate
                                                                  Estate of
                                                                         of decedent
                                                                            decedent Daniel
                                                                                     Daniel

Prude, including
Prude, including the
                 the attorneys’
                     attorneys’ fees
                                fees and
                                     and disbursements
                                         disbursements to
                                                       to be
                                                          be paid
                                                             paid out
                                                                  out of
                                                                      of the
                                                                         the settlement,
                                                                             settlement, finding
                                                                                         finding

the
the terms
    terms thereof
          thereof to
                  to be
                     be fair
                        fair and
                             and reasonable
                                 reasonable and
                                            and in
                                                in the
                                                   the best
                                                       best interest
                                                            interest of
                                                                     of the
                                                                        the Estate
                                                                            Estate and
                                                                                   and distributees.
                                                                                       distributees.

These terms
These terms include
            include the
                    the following:
                        following:

       a.
       a. The above-referenced
          The  above-referenced action
                                   action (the
                                          (the “Lawsuit”)
                                               “Lawsuit”) is
                                                           is settled
                                                              settled for
                                                                      for aa payment
                                                                             payment by
                                                                                      by Defendant
                                                                                         Defendant City
                                                                                                    City
          of
          of Rochester
             Rochester to
                        to the
                           the Plaintiff
                               Plaintiff in
                                         in the
                                            the total
                                                total amount
                                                      amount of
                                                              of twelve
                                                                 twelve million
                                                                          million dollars
                                                                                  dollars ($12,000,000)
                                                                                          ($12,000,000)
          (the
          (the “Settlement
               “Settlement Amount”).
                             Amount”).

          The Lawsuit
       b. The   Lawsuit will
                          will be
                                be dismissed
                                    dismissed with
                                              with prejudice,
                                                    prejudice, waiver
                                                                 waiver of
                                                                         of any
                                                                             any right
                                                                                  right to
                                                                                         to appeal,
                                                                                            appeal, and
                                                                                                     and aa
          general
          general release
                   release ofof the
                                the Defendants
                                    Defendants (and
                                                (and their
                                                      their agents,
                                                            agents, successors
                                                                     successors and
                                                                                 and employees)
                                                                                       employees) byby the
                                                                                                        the
          Plaintiff Administrator.
          Plaintiff Administrator.

          There will
       c. There will be no admission
                     be no admission of
                                     of liability.
                                        liability.

          Fifty percent
       d. Fifty            (50%) of
                 percent (50%)     of the
                                       the Settlement
                                             Settlement Amount
                                                          Amount (six
                                                                    (six million
                                                                           million dollars
                                                                                     dollars ($6,000,000))
                                                                                              ($6,000,000)) is is to
                                                                                                                  to
          be  paid as
          be paid    as compensation
                         compensation for   for damages
                                                  damages forfor conscious
                                                                 conscious pain pain and
                                                                                      and suffering
                                                                                            suffering (“Survival
                                                                                                        (“Survival
          Claims”),
          Claims”), andand the
                            the remaining
                                remaining fifty      percent (50%)
                                               fifty percent  (50%) of
                                                                     of the
                                                                          the Settlement
                                                                               Settlement Amount
                                                                                             Amount (six
                                                                                                      (six million
                                                                                                           million
          dollars ($6,000,000))
          dollars  ($6,000,000)) is  is to
                                        to be
                                            be paid
                                                paid as
                                                      as compensation
                                                         compensation for  for damages
                                                                                damages forfor pecuniary
                                                                                               pecuniary injuries
                                                                                                           injuries
          to five
          to  five children,
                    children, the
                                the heirs,
                                      heirs, resulting
                                               resulting from
                                                           from the
                                                                 the decedent’s
                                                                       decedent’s death
                                                                                      death (“Wrongful
                                                                                              (“Wrongful Death
                                                                                                             Death
          Claims”). No
          Claims”).        portion of
                       No portion    of the
                                         the Settlement
                                              Settlement Amount
                                                            Amount isis to
                                                                         to be
                                                                             be paid  for punitive
                                                                                 paid for  punitive damages.
                                                                                                     damages.

          Thirty-three percent
       e. Thirty-three          of the
                        percent of  the total
                                         total Settlement
                                                Settlement Amount
                                                             Amount (33 (33 percent
                                                                             percent of
                                                                                      of the
                                                                                         the Survival
                                                                                              Survival Claims
                                                                                                           Claims
          damages
          damages ($1,980,000)
                     ($1,980,000) and and 33      percent of
                                             33 percent    of the
                                                                the Wrongful
                                                                      Wrongful Death
                                                                                   Death Claims
                                                                                            Claims damages
                                                                                                        damages
          ($1,980,000))
          ($1,980,000)) will
                         will be  paid as
                              be paid    as attorneys’
                                             attorneys’ fees
                                                         fees to
                                                               to Plaintiff’s
                                                                   Plaintiff’s Counsel,
                                                                                Counsel, for
                                                                                           for aa total
                                                                                                  total of
                                                                                                         of three
                                                                                                             three
          million nine-hundred
          million  nine-hundred and
                                  and sixty
                                        sixty thousand
                                               thousand dollars
                                                          dollars ($3,960,000)
                                                                    ($3,960,000) in in attorneys’
                                                                                       attorneys’ fees.
                                                                                                     fees.

       f. One-hundred
          One-hundred and and sixteen
                                sixteen thousand
                                          thousand eight-hundred
                                                    eight-hundred andand eight
                                                                          eight dollars
                                                                                  dollars and
                                                                                            and 9292 cents
                                                                                                       cents
          (($116,808.92)
          (($116,808.92) ofof the
                              the Settlement
                                   Settlement Amount
                                               Amount ($58,404.46
                                                         ($58,404.46 of
                                                                      of the
                                                                         the Survival
                                                                              Survival Claims
                                                                                         Claims damages
                                                                                                   damages
          and
          and $58,404.46
               $58,404.46 ofof the
                               the Wrongful
                                     Wrongful Death
                                                Death Claims
                                                       Claims damages)
                                                                damages) are
                                                                           are to   be paid
                                                                                to be  paid to
                                                                                             to Plaintiff’s
                                                                                                 Plaintiff’s
          Counsel
          Counsel for
                    for disbursements,
                         disbursements, to  to reimburse
                                               reimburse Plaintiff’s
                                                           Plaintiffs Counsel
                                                                       Counsel for for costs
                                                                                       costs incurred
                                                                                               incurred in in
          advancing the
          advancing   the claims
                          claims inin the
                                      the above-referenced
                                          above-referenced action.
                                                             action.

          The Settlement
       g. The   Settlement Amount
                             Amount netnet of
                                            of attorneys’
                                                attorneys’ fees
                                                              fees and
                                                                     and disbursements
                                                                          disbursements shall
                                                                                            shall be be paid
                                                                                                         paid into
                                                                                                               into two
                                                                                                                     two
          separate
          separate “Qualified
                     “Qualified Settlement
                                  Settlement Funds”
                                                Funds” (“QFS”)—one
                                                          (“QFS”’)—one for    for the
                                                                                   the Survival
                                                                                       Survival Claims
                                                                                                    Claims damages
                                                                                                              damages
          net of
          net  of fees
                  fees and
                        and disbursements
                             disbursements and and one
                                                     one for
                                                           for the
                                                                the Wrongful
                                                                     Wrongful Death
                                                                                  Death Claims
                                                                                          Claims damages
                                                                                                      damages net net of
                                                                                                                       of
          fees
          fees and
                and disbursements—within
                      disbursements—within the     the meaning
                                                        meaning of   of United
                                                                         United States
                                                                                  States Treasury
                                                                                          Treasury Regulation
                                                                                                         Regulation §§
          1.468B-1, 26
          1.468B-1,    26 C.F.R.
                           C.F.R. §§ 1.468B-1
                                      1.468B-1 thatthat shall
                                                         shall be    established pursuant
                                                                 be established                 this Order
                                                                                    pursuant this      Order and
                                                                                                              and will
                                                                                                                     will
          be subject
          be  subject to
                       to the
                          the continuing    jurisdiction of
                               continuing jurisdiction       of this
                                                                 this Court   until payments
                                                                       Court until   payments are  are directed
                                                                                                        directed from
                                                                                                                   from
          these two
          these  two funds
                       funds by
                              by the
                                  the Cook
                                      Cook County
                                              County Probate
                                                        Probate Court.
                                                                    Court. Defendant
                                                                             Defendant is is aa “transferor”
                                                                                                 “transferor” within
                                                                                                                 within
          the
          the meaning
               meaning of of United
                             United States
                                      States Treasury
                                               Treasury Regulation
                                                            Regulation §§ 1.468B-1(d)(1)
                                                                              1.468B-1(d)(1) to    to the
                                                                                                       the Settlement
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             Funds. Eastern
             Funds.     Eastern PointPoint Trust
                                              Trust Company,
                                                         Company, shall   shall bebe the
                                                                                       the “administrator”
                                                                                             “administrator” of         of the
                                                                                                                            the Settlement
                                                                                                                                  Settlement
             Funds
             Funds within
                      within the the meaning
                                      meaning of     of United
                                                          United States
                                                                     States Treasury
                                                                               Treasury Regulation
                                                                                             Regulation §§ 1.468B-2(k)(3)
                                                                                                                    1.468B-2(k)(3) and,     and,
             as the
             as  the administrator,
                       administrator, shall:shall: (a) (a) timely
                                                             timely makemake or  or join
                                                                                     join inin any
                                                                                                 any and and allall filings
                                                                                                                     filings or or elections
                                                                                                                                     elections
             necessary to
             necessary       to make
                                 make the the Settlement
                                                 Settlement Funds   Funds qualified
                                                                                qualified settlement
                                                                                               settlement funds   funds at  at the
                                                                                                                                 the earliest
                                                                                                                                        earliest
             possible
             possible datedate (including,
                                 (including, if   if requested
                                                      requested by    by Defendant,
                                                                           Defendant, aa relation-back
                                                                                               relation-back election election within
                                                                                                                                   within the the
             meaning of
             meaning       of United
                                United States
                                           States Treasury
                                                        Treasury Regulation
                                                                       Regulation §§ 1.468B-1(j));
                                                                                              1.468B-1(j)); (b)      (b) timely
                                                                                                                            timely file file all
                                                                                                                                               all
             necessary or
             necessary      or advisable
                                advisable tax  tax returns,
                                                     returns, reports,
                                                                  reports, or or other
                                                                                   other documentation
                                                                                           documentation required    required to   to be
                                                                                                                                       be filed
                                                                                                                                            filed
             by
             by oror with
                      with respect
                              respect to to the
                                             the Settlement
                                                    Settlement Funds;  Funds; (c) (c) timely
                                                                                        timely pay  pay any any taxes
                                                                                                                   taxes (including
                                                                                                                            (including any   any
             estimated taxes,
             estimated      taxes, and
                                     and any
                                           any interest
                                                  interest or  or penalties)
                                                                   penalties) required
                                                                                   required to   to bebe paid
                                                                                                          paid by  by oror with
                                                                                                                            with respect
                                                                                                                                    respect to  to
             the Settlement
             the   Settlement Funds;
                                   Funds; andand (d)(d) comply
                                                           comply with with anyany applicable
                                                                                     applicable information
                                                                                                       information reporting
                                                                                                                           reporting or   or tax
                                                                                                                                              tax
             withholding requirements
             withholding       requirements imposed imposed by    by applicable
                                                                       applicable law, law, in in accordance
                                                                                                   accordance with    with United
                                                                                                                              United States
                                                                                                                                          States
             Treasury
             Treasury Regulation
                           Regulation §§ 1.468B-2(l).
                                               1.468B-2(1). Any     Any suchsuch taxes,
                                                                                    taxes, asas well
                                                                                                  well as  as all
                                                                                                               all other
                                                                                                                    other costs
                                                                                                                             costs incurred
                                                                                                                                      incurred
             by  the administrator
             by the    administrator in    in performing
                                                performing the     the obligations
                                                                         obligations created
                                                                                          created by    by this
                                                                                                             this subsection,
                                                                                                                    subsection, shall  shall bebe
             paid   out of
             paid out     of the
                              the Qualified
                                    Qualified Settlement
                                                   Settlement Funds. Funds. Defendant
                                                                                 Defendant shall   shall have
                                                                                                            have no no responsibility
                                                                                                                          responsibility or     or
             liability for
             liability   for paying
                              paying such
                                        such taxes
                                                taxes and and nono responsibility
                                                                     responsibility to    to file
                                                                                              file tax
                                                                                                     tax returns
                                                                                                           returns withwith respect
                                                                                                                              respect to  to the
                                                                                                                                              the
             Qualified Settlement
             Qualified      Settlement Funds
                                           Funds or    or to
                                                           to comply
                                                               comply with with information-reporting
                                                                                  information-reporting or            or tax-withholding
                                                                                                                          tax-withholding
             requirements with
             requirements        with respect
                                        respect thereto.
                                                    thereto. Defendant
                                                                   Defendant shall  shall provide
                                                                                            provide the   the administrator
                                                                                                                administrator with    with thethe
             combined statement
             combined         statement described
                                              described in      in United
                                                                      United StatesStates Treasury
                                                                                              Treasury Regulation
                                                                                                                Regulation §§ 1.468B-  1.468B-
             3(e)2)(ib).
             3(e)(2)(ii).

          Following payment
       h. Following            in full
                      payment in  full of
                                        of the
                                           the Settlement
                                                Settlement Amount,
                                                            Amount, Plaintiff
                                                                     Plaintiff Administrator
                                                                                Administrator agrees
                                                                                                agrees to
                                                                                                        to
          hold harmless
          hold  harmless and
                         and indemnify
                              indemnify Defendants
                                            Defendants against
                                                         against any
                                                                 any claims
                                                                     claims for
                                                                             for attorneys’
                                                                                  attorneys’ fees
                                                                                             fees related
                                                                                                  related
          to the
          to the above-referenced
                 above-referenced action.
                                    action.

       i.i. The
            The parties
                parties shall
                        shall seek
                              seek to
                                   to facilitate
                                      facilitate the
                                                 the prompt transfer of
                                                     prompt transfer of funds
                                                                        funds by
                                                                              by wire
                                                                                 wire transfer.
                                                                                      transfer.

       2.
       2.         The
                  The Plaintiff
                      Plaintiff is
                                is directed
                                   directed to
                                            to apply
                                               apply to
                                                     to the
                                                        the Circuit
                                                            Circuit Court
                                                                    Court of
                                                                          of Cook
                                                                             Cook County,
                                                                                  County, Illinois
                                                                                          Illinois

County
County Department,
       Department, Probate
                   Probate Division
                           Division for
                                    for an
                                        an order
                                           order of
                                                 of distribution
                                                    distribution of
                                                                 of the
                                                                    the net proceeds of
                                                                        net proceeds of the
                                                                                        the

settlement, pursuant
settlement,          to 755
            pursuant to 755 ILCS
                            ILCS 5/2-1.
                                 5/2-1.

       3.
       3.         This action
                  This action is
                              is hereby
                                 hereby dismissed
                                        dismissed with
                                                  with prejudice and without
                                                       prejudice and without costs,
                                                                             costs, including
                                                                                    including all
                                                                                              all

claims brought
claims         and that
       brought and that could
                        could have
                              have been brought. The
                                   been brought. The Court
                                                     Court will
                                                           will retain
                                                                retain jurisdiction, but the
                                                                       jurisdiction, but the

above-referenced action
above-referenced action no
                        no longer
                           longer remains
                                  remains pending.
                                          pending.


SO
SO ORDERED
   ORDERED this
           this ______ day
                       day of
                           of October,
                              October, 2022
                                       2022

                                                                                        _____________________________
                                                                                        Hon.
                                                                                        Hon. Frank
                                                                                             Frank P.
                                                                                                   P. Geraci
